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November 23, 2020                                         The Court will hold Ms.
                                                          Churcher’s request for a
Via ECF                                                   conference in abeyance pending
Hon. Lorretta A. Preska                                   further word from her. SO
U.S. District Court for the Southern District of New York
                                                          ORDERED.
500 Pearl Street
New York, New York 10007                                                  11/24/2020
Re:      Giuffre v. Dershowitz, No. 19-cv-3377-LAP
Dear Judge Preska:
       We represent non-party Sharon Churcher in connection with the Subpoena served on her
by Defendant Alan Dershowitz.
        We have reviewed the material submitted by Dershowitz on November 20, 2020 (ECF
No. 210), including the purported transcript of a private conversation that Churcher had no idea
was being recorded, and which she reasonably assumed was being conducted in confidence,
given her longstanding personal and professional relationship with the individual who created the
recording, publisher Anthony Lyons. We acknowledge that the statements contained in that
transcript, as well as the declaration filed by Lyons, have potential impact on the scope of
Churcher’s anticipated motion to quash the Subpoena. Accordingly, we believe that the most
productive and efficient next step will be for us to confer with the parties to consider whether we
can reach agreement on the scope of any potential testimony and/or any further motion to quash.
        We respectfully request that the Court hold our request for a pre-motion conference in
abeyance for fourteen (14) days to provide the parties sufficient time to confer in light of the
holidays this week. We will report back on the status of those discussions, and whether we
intend to pursue further motion practice, on or before December 7, 2020
        In the meantime, we note that Dershowitz argues in his letter that, in light of the
substance of Churcher’s discussion with Lyons, she has “forfeited the protections of the Shield
Law with respect to all information she discussed with Mr. Lyons and should be ordered to
submit to a deposition on these topics.” ECF No. 210 at 3. But even if Churcher’s discussion
with Lyons amounted to a waiver of some portion of the Shield Law’s protection, that waiver
would apply solely to the “limited information shared.” Guice-Mills v. Forbes, 12 Misc.3d 852,
857, 819 N.Y.S.2d 432, 436 (Sup. Ct. N.Y. Cty. 2006); see also Baez v. JetBlue Airways, No. 09-
cv-596, 2012 WL 5471229, at *2 (E.D.N.Y. Nov. 9, 2012) (same); Brown & Williamson
Tobacco Corp. v. Wigand, No. 101678/96, 1996 WL 350827, at *6 (Sup. Ct. N.Y. Cty. Feb. 28,
1996) (holding that a purported leak of a news broadcast to a newspaper would waive privilege
only as to what was actually published in the newspaper, and a contrary holding “would fly in
the face of the purpose of the Shield Law”); N.Y. Civil Rights Law § 79-h(g) (waiver applies
only to “voluntary … disclosure of the specific information sought to be disclosed”) (emphasis
added). Courts have consistently rejected the notion that a partial disclosure of information
waives privilege as to any broader “topic” or to any information that was not explicitly disclosed.




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See, e.g., Lonegan v. Hasty, No. 04-cv-2743, 2008 WL 41445, at *5-6 & n.3 (E.D.N.Y. 2008)
(“waiver would extend only to the specific materials disclosed to third parties”); cf. Falise v. Am.
Tobacco Co., 193 F.R.D. 73, 84 (E.D.N.Y. 2000) (noting in context of attorney-client privilege
that “the Second Circuit has declined to extend subject matter waiver to situations in which the
initial disclosure of privileged information was made ‘extrajudicially and without prejudice to
the opposing party’”) (quoting In re von Bulow, 828 F.2d 94, 103 (2d Cir. 1987)).
        Accordingly, even if Churcher’s private discussions with Lyons waived any privilege,
that waiver would be limited to the specific information that was actually disclosed. Dershowitz
would not be permitted to inquire about other information that was not expressly discussed,
particularly if that information not directly related to what this Court has recognized is the
“narrow” “central factual in this case”: i.e., what happened between Dershowitz and Giuffre in
2001-2002. ECF No. 74 at 6.
        We also note that Dershowitz has identified numerous witnesses who would be in a much
better position to testify as to those facts based on firsthand knowledge, such as Giuffre’s
significant other and employees of Jeffrey Epstein from the relevant time period. See ECF No.
206 at 5, 13-14. As to information to which the Shield Law applies, Dershowitz must exhaust
alternative avenues before seeking to uncover non-published newsgathering information that has
not been disclosed to any third party.
        It is our hope that, in light of these principles, we are able to reach agreement with the
parties about the scope of any testimony to be taken without the need for further Court
intervention.
         Please do not hesitate to let us know if the Court would like any further information.
Respectfully Submitted,
Davis Wright Tremaine LLP
/s/ Laura R. Handman
cc:      All parties (via CM/ECF)




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